1

2

3

4

5

6
                                     UNITED STATES BANKRUPTCY COURT
7                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
8

9    In Re:
                                                       Case No. 22-11270-MLB
10   Derek Allen Watson and Megan Melissa
     Watson,                                           Chapter 13
11
                                   Debtors.
12
                                                       DECLARATION OF ROBERT A. BAILEY
                                                       IN SUPPORT OF MOTION FOR RELIEF
13
                                                       FROM AUTOMATIC STAY OR IN THE
                                                       ALTERNATIVE AN ORDER REQURING
14
                                                       ADEQUATE PROTECTION PAYMENTS
15

16

17            I, Robert A. Bailey, hereby declare as follows:
18            1.        I am a partner at the law firm Lagerlof, LLP, am over the age of 18, and counsel
19   of record for Washington Federal (“WaFd”) in this Chapter 13 bankruptcy. I am one of the
20   attorneys primarily responsible for representing WaFd in this bankruptcy and, as such, make
21   this declaration based upon my personal knowledge and the records and files maintained by
22   Lagerlof, LLP in the ordinary course of business.
23            2.        On December 16, 2021, I spoke with the Watsons’ counsel, Erica St. Louis via
24
     {100047/002330/00634384-1 }
25
     DECLARATION OF ROBERT A. BAILEY IN
     SUPPORT OF MOTION FOR RELIEF FROM
     AUTOMATIC STAY OR IN THE ALTERNATIVE                              LAGERLOF LLP
     AN ORDER REQUIRING ADEQUATE                                    701 PIKE STREET, SUITE 1560
     PROTECTION PAYMENTS -1                                             SEATTLE, WA 98101
                                                                       PHONE: 206-492-2300
     Case
     CASE 22-11270-MLB
          NO: 22-11270-MLB Doc 31             Filed 09/26/22    Ent. 09/26/22 11:22:23            Pg. 1 of 30
1    telephone. During that call, Ms. St. Louis advised me that the Watsons did not live on the

2    property located at 17520 Marine Drive, Stanwood, WA 98292 (the “Property”). She

3    specifically said it was “uninhabitable” and indicated the foundation was cracked and the doors

4    did not close.

5             3.        Counsel for Thomas and Sandra Chung, parties in separate litigation involving

6    the Watsons, provided my office a copy of the transcript for the deposition of Debtor Megan

7    Watson taken on January 3, 2020 in the action entitled Chung v. Watson, Snohomish County

8    Superior Court, Case No. 16-2-02410-4. A true and correct copy of a portion of that transcript

9    is attached hereto as Exhibit 1.

10            4.        Attached hereto as Exhibit 2 is a true and correct copy of the Notice of Default

11   sent to the Watsons dated January 12, 2022.

12            5.        Attached hereto as Exhibit 3 is a true and correct copy of the Notice of

13   Foreclosure sent to the Watsons dated March 3, 2022.

14            6.        Attached hereto as Exhibit 4 is a true and correct copy of the Notice of

15   Trustee’s Sale sent to the Watsons dated March 3, 2022. This document was recorded in

16   Snohomish County under instrument number 202203170240 on March 17, 2022.

17            7.        Attached hereto as Exhibit 5 is a true and correct copy of the Notice of

18   Continuance of Trustee’s Sale for the Property.

19            8.        Attached hereto as Exhibit 6 is a true and correct copy of emails between an

20   attorney of my office, Justin L. Jaena, and the office of Jason Wilson Aguilar, the Trustee for

21   this bankruptcy proceeding dated September 20, 2022. These emails are maintained by

22   Lagerlof, LLP’s file system to which I have access. In these emails, Mr. Jaena inquired with

23   Mr. Aguilar’s office as to whether any pre-confirmation payments have been made by the

24   Watsons in the above-captioned bankruptcy proceeding. Mr. Aguilar’s office, through its
     {100047/002330/00634384-1 }
25
     DECLARATION OF ROBERT A. BAILEY IN
     SUPPORT OF MOTION FOR RELIEF FROM
     AUTOMATIC STAY OR IN THE ALTERNATIVE                              LAGERLOF LLP
     AN ORDER REQUIRING ADEQUATE                                    701 PIKE STREET, SUITE 1560
     PROTECTION PAYMENTS -2                                             SEATTLE, WA 98101
                                                                       PHONE: 206-492-2300
     Case
     CASE 22-11270-MLB
          NO: 22-11270-MLB Doc 31           Filed 09/26/22     Ent. 09/26/22 11:22:23             Pg. 2 of 30
1    representative Noreen Smith, responded that no-pre-confirmation payments have been made.

2             I DECLARE UNDER THE PENALTY OF PERJURY FOR THE LAWS OF THE

3    UNITED STATES THAT THE FOREGOING IS TRUE AND CORRECT.

4             EXECUTED this 26th day of September 2022 at Pasadena, California.

5                                               s/ Robert A. Bailey
                                                Robert A. Bailey
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     {100047/002330/00634384-1 }
25
     DECLARATION OF ROBERT A. BAILEY IN
     SUPPORT OF MOTION FOR RELIEF FROM
     AUTOMATIC STAY OR IN THE ALTERNATIVE                        LAGERLOF LLP
     AN ORDER REQUIRING ADEQUATE                              701 PIKE STREET, SUITE 1560
     PROTECTION PAYMENTS -3                                       SEATTLE, WA 98101
                                                                  PHONE: 206-492-2300
     Case
     CASE 22-11270-MLB
          NO: 22-11270-MLB Doc 31       Filed 09/26/22   Ent. 09/26/22 11:22:23             Pg. 3 of 30
                    EXHIBIT 1

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 4 of 30
                                                          Megan         Watson



                                                                                                              Page     1
                                                                                                                           I
           IN        THE    SUPERIOR          COURT       FOR    THE    STATE      OF    WASHINGTON


                             IN    AND       FOR    THE    COUNTY       OF    SNOHOMISH




        THOMAS             CHUNG       and    SANDRA
        CHUNG,             HUGH'S       SURVIVOR'S
        TRUST,                                                    )
                                                                  )
                           Plaintiffs ,                           )    No.    16-2-02410-4
                                                                  )
                vs .                                              )
                                                                  )
          DEREK WATSON                 and MEGAN                  )
        WATSON,             TERJE       I.    LEIREN
        and          INGUNN       B.    LEIREN,                   )
                                                                  )
                           Defendants .




                             DEPOSITION             UPON    ORAL       EXAMINATION         OF




                                                    MEGAN    WATSON




                                   Taken       at    1812       Hewitt       Avenue



                                             Everett,       Washington




       DATE          TAKEN:        January          3,    2020


       REPORTED             BY:        Sharon       L.    Westling,          CCR   #    2301




                 -




 LIKKEL    and ASSOCIATES                                                                             (800)   686-1325
 www . likkelcourtreporters . com                                        depos@likkelcourtreporters . com


Case 22-11270-MLB                 Doc 31           Filed 09/26/22             Ent. 09/26/22 11:22:23     Pg. 5 of 30
                                              Megan          Watson



                                                                                                                      Page        50

    i
        experts       or       —

    2
              Q.          Disregarding              the       experts,                have       you personally

    3
        taken       any pictures             of     what       you believe                      is    --       this          is   a

    4
        picture       of       how    the    hillside              is       compromised?

    5
              A.          I'll       have    to     look.              I    can       get       that       for       you.

    6
        Can    I    just       have       a piece           of paper             so    I    can make                --

    7
        thank       you.

    8
               Q.      Mine          is    lined.

    9                                                                                                              Okay .
              A.          Thank       you.        Okay .           So       of    the       bluff.

   io
               Q.      Where          are    you        residing presently?

   ii
              A.       Why would              you       be    asking             that?           Can       I       ask

   12
        that?        What       does       that     have       to          do with          this          litigation?

   13
               Q.         So    I    can    conduct           an       investigation                      of       what's

   14
        going       on presently             at     your       property                and why             you're             not

   15
        there .

   16
              A.          Okay .          Well,     I       don't          feel       safe       telling             you

   17
        where       I'm       residing,        because             I       have       been       followed,                   like

   18
        high-speed             chase.

   19
               Q.      Are          you    alleging           that         my     client             or    someone

   20
        associated with my                    client          is       doing          the       following?

   21
               A.         Potentially .                 I    can't          say       for       sure,          but       I

   22
        don ' t

   23
               Q.         Okay .

   24
               A.         I    don't       feel     safe       giving             you       —        and       I    don't

   25
        even       know       the    address,           to    be       honest,             of    where             I'm




  LIKKEL   and ASSOCIATES                                                                                 (800)          686-1325
  www . likkelcourtreporters . com                            depos@likkelcourtreporters . com


Case 22-11270-MLB         Doc 31          Filed 09/26/22           Ent. 09/26/22 11:22:23                          Pg. 6 of 30
                                              Megan        Watson



                                                                                                                      Page       51

    i
        residing .

    2
                              MR.       RHODES:            Just          to     put         on    the       record,

    3
        you    can     contact          the       Watsons        through               their              attorneys.

    4
        There's        two    of    them here.

    5
                              MR.       GOSS:         Yeah,          I    mean,             and       I    will       be

    6
        requesting           copy       of    the     lease,             so .


    7
               A.       Can    we       get           can       we       get       a   protection                 order?

    8
                              MR.       RHODES:           We     can discuss                      it       off    the

    9
        record .

   10
                              THE       WITNESS:               Okay .

   n
               Q.       Why    are          you    not     living             at       your       house          on    lot

   12
        40     on Marine View                Drive?

   13                                                                                                       I    don't
               A.       You    would have                 to    ask my             counsel.

   14
        feel     comfortable with disclosing that,                                               talking about

   15
        it .     I    think    we       all       kind of                 it's          a    combination                   of

   16
        things .        And you             can    ask my insurance                          company             if    you

   17
        would        like.

   18                                                                                                                 not
               Q.       I 'm   asking             you .        You're           the         one       that's

   19
         living       there.

   20                                                                                                     ask    them why
               A.       Yeah .          I    guess        you    would have                      to

   21
         I 'm not,      why    they          put    me     somewhere                   else.

   22
                Q.      What       --       generally,           how much did                         you       spend       to
                                                                                                                                      I
   23
        build        your    house?

   24
               A.       I    have       no    idea.            That's           all         Derek.

   25
                Q.      No     clue?


                                                                                                                                  :



  LIKKEL     and ASSOCIATES                                                                                (800)       686-1325
  www . likkel court report er s . com                         depos@likkelcourtreporters . com


Case 22-11270-MLB       Doc 31          Filed 09/26/22           Ent. 09/26/22 11:22:23                          Pg. 7 of 30
                                                Megan       Watson



                                                                                                                Page       53

   i
              A.          I    told       you to       talk to my insurance                          company           if

   2
        you    wanted          to    know      why.

    3                                                            Watson.
               Q.         I'm asking                you Ms.

    4
               A.        And        I 'm not

    5
               Q.         If    you don't             answer,         we're             just    going to have

    6
        this     deposition               again next week because                              the   judge        is

    7
        going       to    tell       you       to    answer.              I'm pretty            confident            of

    8                                                  your      attorneys.
        that .       And       you       can    ask

    9
               A.         Like       I    said,       you have             to talk to my               insurance

   io
        company          to    know exactly why we're                              not    living there,

   ii
        and    that's          the       honest       truth.

   12
               Q.         Okay .          So    just       so    we're          clear

   13
               A.         That       is    my       testimony.
                                                                                                                                I
   14
                          So    we ' re        clear       for    the          record,         you   don ' t      know
               Q.

   15
        why    you       have       moved       your       family          out      of    your       house       —

   16
               A.         But       that ' s

   17
               Q.               at       lot    40?        Is    that          —    I    just want          to be

   18
        clear .          That's          your       testimony?

   19
               A.         Lot       40    -- my       insurance                company         knows       why.        I


   20
        don't       know       all       the    details.              I    don ' t .       Did       you    ask

   21
        Derek       this       question?              Because             he    may      know more.

   22
               Q.         I    did .

   23
               A.         He    may       —     he    may       know more.

   24
               Q.         I'm       asking          you.        And       so    let me         see    if    I

   25
        understand.                 Are    you       telling me                that      your    insurance




  LIKKEL   and ASSOCIATES                                                                            (800)       686-1325

  www . likkelcourtreporters . com                              depos@likkelcourtreporters . com


Case 22-11270-MLB         Doc 31          Filed 09/26/22          Ent. 09/26/22 11:22:23                   Pg. 8 of 30
                                                 Megan       Watson



                                                                                                           Page      54

    i
        company         has        asked       you    to move       out       of    your       house?

    2
               A.         Yes .

    3
               Q.         What          insurance          company       is    that?

    4
               A.         Liberty Mutual.

    5
               Q.         And when             did    that    happen?

    6
               A.         About          a month       ago.        I'd     have      to    look       back       and

    7
        see    what       exact          date.        Probably        in      November-ish,                month

    8
        and    a    half       ago.

    9
               Q.         And       did    that       have    any     connection               to   why     the

   10
        power       was       shut       off    at    your    house?

   ii
               A.         A    little,          probably.           You mean             less       than

   12
        24    hours?

   13
                                   MR.    RHODES:           I'm going          to    object          to    any

   14
        questions             about       communications             with          her    insurer          as

   15
        protected             by    Heidebrink,             just    in     case      you       go    there.

   16
               Q.         Do       you    have       any    reason       to    believe          that       your

   17
        home       is   unsafe?

   18
               A.         Yes .

   19
               Q.         Why?

   20
               A.         There's          many       reasons.

   21
               Q.         And       could       you    list       them     for me,         please?

   22
               A.         I    don't       know       all    of    them.           Like    I    said,       you

   23
        would have             to       talk    to    Derek       and my       insurance             company.             i

   24
        But    for      one,        I    know    that       your    clients          contributed                to   a

   25
        majority          of       it.




  LIKKEL   and      ASSOCIATES                                                                  (800)       686-1325
  www . likkelcourtreporters . com                           depos@likkelcourtreporters . com


Case 22-11270-MLB         Doc 31          Filed 09/26/22          Ent. 09/26/22 11:22:23              Pg. 9 of 30
                    EXHIBIT 2

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 10 of 30
 constitute
 constitute an
            an appearance
               appearance for
                          for jurisdictional
                              jurisdictional purposes
                                             purposes in
                                                      in any pending litigation
                                                         any pending litigation nor
                                                                                nor a
                                                                                    a waiver
                                                                                      waiver of
                                                                                             of
 your
 your rights.
      rights.


 NOTICE:
 NOTICE: YOUYOU AREARE HEREBY
                          HEREBY NOTIFIED
                                     NOTIFIED THAT
                                               THAT THETHE A1'110UNT
                                                            AM0UNT OF  OF YOUR
                                                                            YOUR
 INDEBTEDNESS
 INDEBTEDNESS TO   TO THE
                        THE BENEFICIARY,
                              BENEFICIARY, THEIR
                                              THEIR SUCCESSORS
                                                     SUCCESSORS IN  IN INTEREST
                                                                       INTEREST
 AND/OR ASSIGNEES
 AND/OR    ASSIGNEES AS   AS RECITED
                               RECITED BELOW,
                                          BELOW, ASAS OF
                                                       OF THE
                                                           THE DA   TE OF
                                                                 DATE   OF THIS
                                                                             THIS
 NOTICE/LETTER,
 NOTICE/LETTER, IS   IS $747,724.21.
                         $747,724.21. INTEREST
                                      INTEREST (PRESENTLY
                                                (PRESENTLY AT AT THE
                                                                   THE RATE
                                                                        RATE OFOF
 4.00000%
 4.00000% PER
           PER ANNUM),
                ^^^^, FEES       AND COSTS
                           FEES AND    COSTS WILL
                                             WILL CONTINUE
                                                   CONTINUE TO    ACCRUE AFTER
                                                              TO ACCRUE   AFTER
 THE
 THE DATE
      DATE OFOF TIDS   NOTICE/LETTER. UNLESS
                 THIS NOTICE/LETTER.      UNLESS YOU
                                                 YOU DISPUTE
                                                      DISPUTE THE
                                                               THE VALIDITY
                                                                     VALIDITY OF
                                                                              OF
 THE
 THE DEBT,
      DEBT, OROR ANY
                  ANY PORTION      THEREOF WITHIN
                        PORTION THEREOF      WITHIN 30
                                                     30 DAYS
                                                        DAYS AFTER
                                                              AFTER RECEIVING
                                                                      RECEIVING
 NOTICE OF
 NOTICE   OF THIS
              THIS DOCUMENT,
                    DOCUMENT, THIS  THIS OFFICE
                                         OFFICE WILL   ASSUME THE
                                                WILL ASSUME     THE DEBT
                                                                     DEBT TO
                                                                           TO BE
                                                                               BE
 VALID.
 VALID. IF
         IF YOU
            YOU NOTIFY
                  NOTIFY THIS
                           THIS OFFICE
                                 OFFICE IN
                                         IN WRITING
                                            WRITING WITHIN
                                                     WITHIN THE
                                                             THE 30-DAY
                                                                  30-DAY PERIOD
                                                                         PERIOD
 THAT
 THAT THE
        THE DEBT
             DEBT OROR ANY
                        ANY PORTION     THEREOF IS
                             PORTION THEREOF     IS DISPUTED,
                                                    DISPUTED, VERIFICATION
                                                               VERIFICATION OFOF
 THE DEBT
 THE          WILL BE
       DEBT WILL      BE OBTAINED
                           OBTAINED AND AND MAILED
                                             MAILED TOTO YOU.
                                                          YOU. UPON    WRITTEN
                                                                 UPON WRITTEN
 REQUEST    WITHIN 30
 REQUEST WITHIN        30 DAYS,   THE NAME
                          DAYS, THE           AND ADDRESS
                                        NAME AND   ADDRESS OFOF THE
                                                                  THE ORIGINAL
                                                                       ORIGINAL
 CREDITOR,
 CREDITOR, IF  IF DIFFERENT
                   DIFFERENT FROM FROM THETHE CURRENT
                                               CURRENT CREDITOR,
                                                          CREDITOR, WILL
                                                                       WILL BEBE
 PROVIDED.
 PROVIDED.

 NOTICE:
 NOTICE: WE   ARE A
          WE ARE  A DEBT
                     DEBT COLLECTOR.
                           COLLECTOR. TIDS
                                         THIS COMMUNICATION
                                              COMMUNICATION IS
                                                            IS AN
                                                                AN
 ATTEMPT
 ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE
          TO COLLECT  A DEBT, AND ANY INFORMATION OBTAINED WILL BE
 USED
 USED FOR
      FOR PURPOSES
          PURPOSES OF
                   OF DEBT
                      DEBT COLLECTION.
                           COLLECTION.


 Derek
 Derek Watson
       Watson and
              and Megan
                  Megan Watson,
                        Watson, 48022100
                                48022100


                                                   NOTICE OF
                                                   NOTICE OF DEFAULT
                                                             DEFAULT

                              Pursuant
                              Pursuant to
                                       to the
                                          the Revised
                                              Revised Code
                                                      Code of
                                                           of Washington,
                                                              Washington, Chapter61.24
                                                                          Chapter61.24 et
                                                                                       et seq.
                                                                                          seq.


 1.
 1.         Default:
            Default:


          You
          You are   hereby notified
                are hereby  notified that
                                       that the
                                            the beneficiary
                                                beneficiary has
                                                             has declared
                                                                  declared a a default
                                                                               default of
                                                                                       of the
                                                                                           the obligation
                                                                                               obligation
 se.       by a
     cured by
 secured      a deed
                deed of
                     of trust
                        trust given
                              given byby Derek
                                          Derek Watson
                                                Watson and
                                                         and Megan
                                                              Megan Watson,     Grantors, to
                                                                      Watson, Grantors,   to Washington
                                                                                             Washington
 Federal, N.A.
 Federal,   N.A. as
                  as benefici       dated October
                              ary, dated
                     beneficiaary,         October 9,9, 2015,
                                                        2015, and
                                                               and recorded
                                                                    recorded October
                                                                               October 21,
                                                                                        21, 2015
                                                                                              2015 under
                                                                                                    under
 Recorder's/Auditor's Number
 Recorder's/Auditor's   Number 201510210463,
                                    201510210463, in in the
                                                        the Official  Records of
                                                             Official Records    of Snohomish
                                                                                    Snohomish County,
                                                                                                 County,
 Washington,
 Washington, encumbering
                encumbering the
                              the following
                                   following described
                                              described real property in
                                                        real property  in said
                                                                          said County:
                                                                               County:

LOT 40,
LOT 40, BLOCK
        BLOCK 50,
              50, C.D.
                  C.D. HILLMAN'S
                       HILLMAN'S BIRMINGHAM
                                 BIRMINGHAM WATER FRONT ADDITION
                                            WATER FRONT          TO
                                                        ADDITION TO
 THE CITY
 THE CITY OF
          OF EVERETT,
             EVERETT, DIVISON NO. 1,
                      DIVISON NO.    ACCORDING TO
                                  1, ACCORDING TO THE
                                                  THE PLAT THEREOF
                                                      PLAT THEREOF
RECORDED IN
RECORDED IN VOLUME
            VOLUME   88 OF
                        OF PLATS,
                           PLATS, PAGES
                                  PAGES 21,
                                        21, 22,
                                            22, AND
                                                AND 23,
                                                    23, RECORDS
                                                        RECORDS OF
                                                                OF
SNOHOMISH
SNOHOMISH COUNTY,
          COUNTY, WASHINGTON;
                  WASHINGTON;

TOGETHER WITH
TOGETHER WITH SECOND
              SECOND CLASS  TIDELANDS IN
                      CLASS TIDELANDS IN FRONT
                                         FRONT OF
                                               OF AND ABUTTING UPON
                                                  AND ABUTTING UPON
AND
AND ADJACENT
    ADJACENT THERETO.
             THERETO.

 SITUATE
 SITUATE IN THE COUNTY
         IN THE COUNTY OF
                       OF SNOHOMISH,
                          SNOHOMISH, STATE
                                     STATE OF
                                           OF WASHINGTON.
                                              WASHINGTON.

Tax
Tax Parcel
    Parcel ID
           ID No.
              No. 0039440500400
                  0039440500400 ll




NOTICE
NOTICE OF
       OF DEFAULT-3
          DEFAULT - 3
Der�k
Derek WatsClll
      Watson and
               and Meg:u,
                   Meg:u, \V:nson.
                          Watson. 48022:100
                                   48022:100
\\'A-NOD-4
WA-NOD-4

                                                   Exhibit MW-3,
                                                   Exhibit MW-3, page
                                                                 page 3
                                                                      3
Case 22-11270-MLB                         Doc 31   Filed 09/26/22    Ent. 09/26/22 11:22:23      Pg. 11 of 30
 TO
 TO BRING
    BRING YOUR
          YOUR LOAN
                LOAN CURRENT
                      CURRENT OR OR PAY
                                    PAY IT
                                         IT OFF
                                            OFF YOUYOU MUST
                                                         MUST CONTACT
                                                               CONTACT IDEAIDEA
                          353-2146 OR
                                   OR AT
                                              t
 LAW
 LAW GROUP,
      GROUP, LLC
             LLC AT
                 AT (877)
                    (877) 353-2146    AT dcoll  sr@idealawgroupilc.com. DO
                                          dcoats@idealawgroupllc.com.   DO NOT
                                                                            NOT
 SEND
 SEND MONEY
      MONEY WITHOUT
             WITHOUT CALLING
                      CALLING ANDAND OBTAINING
                                      OBTAINING AN  AN EXACT
                                                        EXACT AMOUNT.
                                                               AMOUNT.

 2.
 2.           Statement
              Statement of
                        of Default
                           Default and
                                   and Itemized Arrearages:
                                       Itemized Arrearages:

              The
              The benefi ciary alleges
                  beneficiary  alleges default
                                       default of
                                               of the
                                                  the deed
                                                      deed of
                                                           of trust
                                                              trust for
                                                                    for the
                                                                        the following reasons:
                                                                            following reasons:

              a.
              a.          Failure
                          Failure to pay the
                                  to pay the following
                                             following amounts,
                                                       amounts, now
                                                                now in
                                                                    in arrears:
                                                                       arrears:

              Delinquent
              Delinquent Monthly
                          Monthly Payments
                                   Payments Due:
                                              Due:
              From
              From 07/01/2019
                    07/01/2019 through
                               through 08/01/2021@
                                       08/01/2021 @                                              $111,871.76
                                                                                                 $111,871.76
              $4,302.76 per month:
              $4,302.76 per month:
              From 09/01/2021
              From             through 02/01/2022
                    09/01/2021 through 02/01/2022 @@                                              $27 133.38
                                                                                                  $27.133.38
              $4,522.23 per month:
              $4,522.23 per month:
              Total:
              Total:                                                                             $139,005.14
                                                                                                 $139,005.14


             Total
             Total Late
                   Late Charges
                        Charges Due:
                                Due:                                                               $4,572.79
                                                                                                   $4,572.79
             AP
             AP Legal
                 Legal Charges:
                       Charges:                                                                    $2,348.35
                                                                                                   $2,348.35
             Loan
             Loan Return
                   Return Check
                          Check Charges:
                                Charges:                                                              $80.00
                                                                                                      $80.00
                    Subtotal:
                    Subtotal:                                                                    $146,006.28
                                                                                                 $146,006.28
             Less
             Less Suspense
                  Suspense Balance:
                           Balance:
             TOTAL
             TOTAL DEFAULT:
                      DEFAULT:                                                                   $146,006.28
                                                                                                 $146,006.28


              b.
              b.          TO
                          TO REINSTATE
                             REINSTATE OR
                                       OR PAYOFF YOU MUST
                                          PAYOFF YOU MUST CONTACT
                                                          CONTACT THE
                                                                  THE TRUSTEE.
                                                                      TRUSTEE.

             Default
             Default other than failure
                     other than failure to
                                        to make monthly payments:
                                           make monthly payments:

 In the
 In the event
        event there
               there are
                     are deiinquent
                          delinquent taxes
                                      taxes and
                                             and assessments
                                                  assessments owing
                                                              owing against
                                                                    against the
                                                                            the property
                                                                                property at
                                                                                         at the time of
                                                                                            the time  of
 reinstatement,
 reinstatement, oror a
                     a senior
                        senior lien
                               lien is  delinquent, those
                                    is delinquent,   those delinquent
                                                           delinquent taxes
                                                                      taxes and
                                                                             and assessments
                                                                                 assessments and
                                                                                               and lien
                                                                                                   lien
 must
 must also
       also be
            be cured
                cured as
                       as a
                          a condition
                            condition of
                                       of reinstatement.
                                          reinstatement.


 3.
 3.          Other
             Other Charges,
                   Charges, Costs
                            Costs and
                                  and Fees:
                                      Fees:


        In addition
        In  addition to
                     to the
                         the amounts
                              amounts specifi  ed above,
                                        specified  above, you
                                                          you are
                                                               are or
                                                                    or may
                                                                       may bebe obliged
                                                                                 obliged to  pay the
                                                                                          to pay the
 following
 following charges,
           charges, costs
                    costs and
                           and fees  to reinstate
                                fees to reinstate the
                                                  the Deed
                                                      Deed of
                                                           of Trust
                                                              Trust if
                                                                    if reinstatement
                                                                       reinstatement is
                                                                                      is made
                                                                                         made before
                                                                                              before
 recording
 recording of
           of the
              the Notice
                  Notice of
                          of Trustee's
                             Trustee's Sale:
                                       Sale:

               Cost
               Cost of
                    of Title
                       Title Report
                             Report for
                                      for Foreclosure
                                          Foreclosure (Incurred):
                                                      (Incurred):                                 $1,808.35
                                                                                                  $1,808.35
               Posting
               Posting of
                        of Notice
                           Notice of
                                   of Default
                                      Default (Estimated):
                                              (Estimated):                                           $65.00
                                                                                                     $65.00
               Copying
               Copying (Estimated):
                         (Estimated):                                                                $15.00
                                                                                                     $15.00
               Statutory
               Statutory Mailing
                          Mailing (Estimated):
                                   (Estimated):                                                      $70.00
                                                                                                     $70.00
               Referral
               Referral Fee
                        Fee (Incurred):
                             (Incurred):                                                            $540.00
                                                                                                    $540.00
               Recording
               Recording costs
                           costs (Incurred):
                                 (Incurred):                                                         $19.00
                                                                                                     $19.00
               TOTAL
               TOTAL CHARGES
                         CHARGES -      - COSTS   AND FEES
                                          COSTS AND      FEES                                     $2,517.35
                                                                                                  $2,517.35
               ESTll\tlA
               ESTIMATED: TED:




 NOTICE
 NOTICE OF
        OF DEFAULT
           DEFAULT -- 4
                      4
 Derek
 Derek \\'atson
       Watson and
                and Megan
                    Megan \1/.itson,
                          Watson, '18022100
                                     48022100
 WA-NOD-4             ’
                                                   Exhibit MW-3,
                                                   Exhibit MW-3, page
                                                                 page 4
                                                                      4
Case 22-11270-MLB                         Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23       Pg. 12 of 30
 TO
 TO BRING
    BRING YOUR
          YOUR LOAN
                LOAN CURRENT
                      CURRENT OR OR PAY
                                     PAY IT
                                         IT OFF
                                            OFF YOU    MUST CONTACT
                                                 YOU MUST    CONTACT IDEAIDEA
 LAW
 LAW GROUP,
      GROUP, LLC AT (877)
             LLC AT (877) 353-2146
                          353-2146 OR  AT dcoats@idcaJawgroupllc.com.
                                   OR AT  dcoats@idealawgroupllc.com. DO
                                                                      DO NOT
                                                                          NOT
 SEND
 SEND MONEY
      MONEY WITHOUT
             WITHOUT CALLING
                      CALLING ANDA�'D OBTAINING
                                      OBTAINING ANAN EXACT   AMOUNT.
                                                     EXACT AMOUNT.

 4.
 4.         Reinstate:
            Reinstate:

        a.
        a.      The
                The total
                    total amount
                          amount necessary
                                   necessary toto reinstate
                                                  reinstate your
                                                            your Note
                                                                 Note and
                                                                      and Deed
                                                                           Deed of
                                                                                of Trust  before the
                                                                                    Trust before the
 recording
 recording of the Notice
           of the Notice of
                         of Trustee's
                            Trustee's Sale is the
                                      Sale is the sum
                                                  sum of
                                                       of Paragraphs
                                                          Paragraphs 2
                                                                     2 and
                                                                       and 3
                                                                           3 above.
                                                                             above.

        PLUS
        PLUS thethe amount
                     amount ofof any
                                  any monthly      payments and
                                        monthly payments      and late
                                                                  late charges
                                                                       charges which but for
                                                                               which but     the
                                                                                         for the
 acceleration,
 acceleration, would
               would fall
                     fall due
                          due after
                              after the
                                    the date
                                        date of
                                             of the
                                                the Notice
                                                    Notice of Default.
                                                           ofDefault.

         PLUS  any of
         PLUS any  of the
                      the additional
                          additional costs
                                     costs or
                                           or fees
                                              fees which
                                                   which may
                                                         may be
                                                             be incurred
                                                                incurred subsequent to the
                                                                         subsequent to the date
                                                                                           date of
                                                                                                of
 the Notice of
 the Notice    Default.
            ofDefault.

 Payoff
 Payoff monies,
         monies, in  the form
                  in the      of cash,
                         form of  cash, or
                                        or cashier's
                                           cashier's check
                                                     check or
                                                           or certified
                                                              certified checks
                                                                        checks from
                                                                               from federally
                                                                                    federally or
                                                                                              or
 state
 state chartered
       chartered banks,
                 banks, must
                        must be tendered to:
                             be tendered to:

                                               IDEA
                                               IDEA Law
                                                     Law Group,
                                                           Group, LLC
                                                                  LLC
                                           2001
                                           2001 Western   Avenue, Suite
                                                Western Avenue,   Suite 400
                                                                         400
                                                 Seattle,
                                                 Seattle, WA
                                                          WA 98121
                                                              98121
                                                   (877)
                                                   (877) 353-2146
                                                          353-2146
                                             dcoatsr@idealawgroupllc.com
                                             dcoatsr@idealawgroupllc.corn




 5.
 5.         Consequences
            Consequences of
                         of Default:
                            Default:

          a.
          a.      Failure
                  Failure to
                           to cure
                              cure said
                                    said alleged
                                         alleged default
                                                  default within
                                                           within thirty
                                                                   thirty (30)
                                                                          (30) days
                                                                               days of   the mailing
                                                                                     of the  mailing of  this
                                                                                                      of this
 notice,  or if
 notice, or     personally served,
             if personally  served, v.ithin
                                    within thirty
                                            thirty (30)
                                                   (30) days
                                                         days of
                                                              of the
                                                                 the date
                                                                     date of  personal service
                                                                           of personal  service hereof,
                                                                                                hereof, may
                                                                                                        may
 lead
 lead to  recordation, transmittal
       to recordation,  transmittal and   publication of
                                      and publication    of a
                                                            a Notice
                                                              Notice of
                                                                      of Trustee's
                                                                          Trustee's Sale,
                                                                                    Sale, and
                                                                                           and the  property
                                                                                               the property
 described in
 described      Paragraph 11 above
             in Paragraph     above may
                                     may bebe sold
                                              sold at
                                                    at a public auction
                                                       a public auction at
                                                                         at a date no
                                                                            a date no less than 150
                                                                                      less than      days in
                                                                                                 150 days  in
 the future.
 the future.

        b.
        b.      The
                The effect
                     effect of the recordation,
                            of the recordation, transmittal
                                                transmittal and  publication of
                                                             and publication of a
                                                                                a Notice
                                                                                  Notice of
                                                                                         of Trustee's
                                                                                            Trustee's
 Sale
 Sale will be to
      will be to (i)
                 (i) increase
                     increase the
                               the costs
                                    costs and
                                          and fees;
                                              fees; and
                                                    and (ii)  publicize the
                                                        (ii) publicize  the default
                                                                            default and
                                                                                    and advertise
                                                                                        advertise the
                                                                                                  the
 property
 property described
          described herein
                     herein for
                            for sale.
                                sale.


         c.
         c.      The
                 The effect
                       effect of
                              of the
                                 the sale
                                      sale of
                                           of the
                                              the grantor(s)' property by
                                                  grantor(s)' property by the
                                                                          the Trustee
                                                                              Trustee will be to
                                                                                      will be to deprive
                                                                                                 deprive
 the
 the grantor(s)
     grantor(s) of
                of all their interest
                   all their interest in
                                      in the property described
                                         the property            in Paragraph
                                                      described in  Paragraph ll above.
                                                                                 above.

 6.
 6.         Recourse
            Recourse to
                     to Courts:
                        Courts:

        The  bon-ower, grantor(s),
        The borrower,   grantor(s), and
                                    and any
                                        any guarantor
                                             guarantor has
                                                       has recourse
                                                           recourse to
                                                                    to the
                                                                       the courts pursuant to
                                                                           courts pursuant to RCW
                                                                                              RCW
 61.24.130
 61.24.130 to
           to contest the alleged
              contest the alleged default
                                  default on
                                          on any proper ground.
                                             any proper ground.

 NOTICE
 NOTICE TO   TO ALL
                  ALL PERSONS
                        PERSONS AND   AND PARTIES
                                             PARTIES WHO WHO ARE         GUARANTORS OF
                                                                 ARE GUARANTORS              OF THETHE
 OBLIGATIONS
 OBLIGATIONS SECUREDSECURED BY  BY THIS
                                    THIS DEED
                                           DEED OFOF TRUST:
                                                      TRUST: (1)(1) The
                                                                     The Guarantor
                                                                         Guarantor may
                                                                                     may bebe liable
                                                                                              liable for
                                                                                                     for
 aa deficiency
    deficiency judgment
               judgment to
                         to the
                            the extent
                                extent the
                                       the sale
                                           sale price
                                                price obtained
                                                      obtained at
                                                                at the
                                                                   the Tmstee's
                                                                       Tmstee's Sale
                                                                                  Sale is
                                                                                       is less  than the
                                                                                          less than  the
 debt secured
 debt           by the
       secured by  the Deed
                       Deed of
                             of Trust; (2) The
                                Trust; (2) The Guarantor
                                                Guarantor has
                                                           has the
                                                               the same   rights to
                                                                    same rights  to reinstate
                                                                                    reinstate the
                                                                                               the debt,
                                                                                                   debt,


 NOTICE
 NOTICE OF
        OF DEFAULT-
           DEFAULT - 5
                     5
 Derek
 Derek Warson
       Watson and
              and Megan
                  Megan Warson.
                        Watson. 48022100
                                48022100
 WA-NOD-4
 WA-NOD-4

                                               Exhibit MW-3,
                                               Exhibit MW-3, page
                                                             page 5
                                                                  5
Case 22-11270-MLB                     Doc 31   Filed 09/26/22 Ent. 09/26/22 11:22:23          Pg. 13 of 30
 cure  the default,
 cure the  default, oror repay
                         repay the
                                 the debt
                                      debt as
                                            as is
                                                is given  to the
                                                   given to  the grantor
                                                                  grantor in   order to
                                                                            in order   to avoid
                                                                                          avoid the
                                                                                                 the trustee's
                                                                                                     ^astee's sale;
                                                                                                                sale; (3)
                                                                                                                      (3)
 The
 The Guarantor
       Guarantor will     have no
                     will have        right to
                                 no right        redeem the
                                             to redeem    the property
                                                               property after
                                                                          after the
                                                                                  the Trustee's
                                                                                       Trustee's Sale;
                                                                                                  Sale; ((4)
                                                                                                          4) Subject
                                                                                                              Subject toto
 such
 such longer
        longer periods
                 periods acs
                          as are
                              are provided
                                   provided in in the
                                                   the Washington
                                                       Washington Deed Deed of of Trust
                                                                                   Trust Act,
                                                                                          Act, Chapter
                                                                                                Chapter 61.24
                                                                                                          61.24 RCW,
                                                                                                                  RCW,
 any
 any action
      action brought
              brought to to enforce
                            enforce a     guaranly must
                                        a guaranty   must bebe commenced
                                                                commenced within within one
                                                                                         one year
                                                                                              year after
                                                                                                    after the
                                                                                                          the Trustee's
                                                                                                               Trustee's
 Sale
 Sale . or
        or the
           the last
                last Trustee's
                     Trustee's Sale
                                 Sale under
                                        under any
                                                any deed
                                                     deed ofof trust
                                                               trust granted
                                                                     granted to to secure
                                                                                    secure the
                                                                                           the same
                                                                                               same debt;
                                                                                                       debt; and
                                                                                                              and (5)
                                                                                                                   (5) In
                                                                                                                        In
 any
 any action
      action for
               for aa deficiency
                      deficiency . thethe Guarantor
                                           Guarantor will
                                                        will have
                                                              have the
                                                                     the right
                                                                          right toto establish
                                                                                      establish the
                                                                                                the fair
                                                                                                     fair value
                                                                                                           value of   the
                                                                                                                  of the
 property as
 property   as of
                of the
                    die date
                        date of
                              of the
                                  the Trustee's
                                        Trustee's Sale
                                                    Sale . less
                                                           less prior  liens and
                                                                 prior liens   and encumbrances,
                                                                                     encumbrances, and and toto limit
                                                                                                                limit its
                                                                                                                       its
 liability
 liability for
           for aa defi ciency to
                  deficiency    to the
                                    the difference
                                         difference between
                                                      between the the debt
                                                                      debt and
                                                                             and the
                                                                                   the greater
                                                                                        greater of
                                                                                                of such
                                                                                                    such fair
                                                                                                           fair value
                                                                                                                value oror
 the
 the sale
     sale price
           price paid
                  paid at
                        at the
                           the Trustee's
                               Trustee's Sale,
                                            Sale, plus
                                                   plus interest
                                                        interest and
                                                                   and costs.
                                                                        costs.

  7.
  7.           Declarations
               Declarations Re:
                            Re: Beneficiary
                                Beneficiary and
                                            and Foreclosure
                                                Foreclosure Loss
                                                            Loss Mitigation:
                                                                 Mitigation:

               [[ x
                  x ]] Attached
                       Attached is
                                is a
                                   a true
                                     true and
                                          and correct
                                              correct copy
                                                      copy of
                                                           of the
                                                              the Beneficiary
                                                                  Beneficiary Decforation;
                                                                              Declaration; and
                                                                                           and

               [[ x
                  x ]] Attached
                       Attached is
                                 is a
                                    a true
                                       true and
                                            and correct
                                                 correct copy
                                                         copy of
                                                               of the
                                                                  the Declaration
                                                                      Declaration Re:
                                                                                  Re: Loss
                                                                                       Loss Mitigation,
                                                                                              Mitigation, duly
                                                                                                          duly
                       execuLed
                       executed by
                                by the
                                    the Beneficiary
                                         Beneficiary or
                                                     or authorized
                                                        authorized agent
                                                                   agent of:the
                                                                         ofthe Beneficiary;
                                                                                Beneficiary; or
                                                                                             or

               [[ ]] No
                     No Declaration
                          Declaration Re:Re: Loss
                                              Loss Mitigation
                                                   Mitigation is
                                                              is attached
                                                                 attached to  this Notice
                                                                           to this Notice because:
                                                                                          because:
                        [[ ]] Property
                              Property is is vacant
                                             vacant
                       [[ ]] Property
                              Property isis non-owner
                                             non-owner occupied
                                                        occupied
                       [[ ]] Property
                              Property secures
                                          secures aa commercial
                                                     commercial loan
                                                                  loan (loan
                                                                        (loan not
                                                                                not made
                                                                                    made primarily
                                                                                           primarily fm
                                                                                                     for personal,
                                                                                                         personal,
                              family
                              family oror 110usehold
                                           household purposes),
                                                      purposes), or
                                                                  or secures
                                                                     secures the
                                                                               the obligation
                                                                                   obligation of
                                                                                              of a
                                                                                                 a grantor
                                                                                                   grantor who
                                                                                                           who is
                                                                                                                is
                              not
                              not the
                                   the borrower
                                        borrower oror a
                                                      a guarantor,
                                                        guarantor, or
                                                                    or sectrres
                                                                       secures a a purchaser's
                                                                                   purchaser's obligation
                                                                                               obligation under
                                                                                                          under aa
                              seller-financed   note.
                              seller-financed note.

 8.
 8.    The
       The name
            name and
                   and address
                        address of
                                 of the holder of
                                    the holder of the
                                                  the note
                                                      note or
                                                           or other
                                                              other obligatio11
                                                                    obligation secured
                                                                                secured by
                                                                                        by the
                                                                                           the
 above
 above deed
       deed of
            of trust
               trust are
                     are as
                         as follows:
                            follows:

        a.
        a.      The  name and
                The name    and address
                                 address of
                                         of the
                                            the holder
                                                holder of
                                                       of the
                                                          the note
                                                              note or
                                                                   or other
                                                                      other obligation
                                                                            obligation secured
                                                                                       secured by
                                                                                               by the
                                                                                                  the
 above
 above deed
       deed of
            of trust
               trust are
                     are as
                         as follows:
                            follows:

               Nan1e:
               Nanie:               Washington
                                    Washington Federal
                                               Federal Bank
                                                       Bank NA
                                                            NA
               Address:
               Address:             425
                                    425 Pike
                                        Pike Street
                                             Street
                                    Seattle. WA 98101
                                    SeattlefWA'98101.


         b.
         b.     The
                The name,
                    name, address
                           address and
                                   and telephone
                                       telephone number
                                                   number ofof the party acting
                                                               the party acting as
                                                                                as a
                                                                                   a servicer of the
                                                                                     servicer of the
 obligation
 obligation secured
            secured by
                    by the
                       the above
                           above deed
                                 deed of
                                      of trust
                                         trust are
                                               are as
                                                   as follows:
                                                      follows:

               Name:
               Name:    Washington
                        Washington FederaJ
                                     Federal Bank
                                             Bank NA
                                                  NA
               Address: 4?5 Pike  Street
               Address: 4?5 Pike Street
                        Seattle.
                        Seattle. WA  98101
                                 WA98101
               Phone:
               Phone:   ?06-626-8562
                        206-626-8562




               DATED:
               DATED: January�,
                      January _, 2022.
                                 2022.




 NOTICE
 NOTICE OF
        OF DEFAULT-
           DEFAULT - 6
                     6
 Derck
 Derck 'tr'alson
       Waison andand Mc:;;.an
                     Mc:;;.an \Va1so11,
                              Watson, -4-4 802210\)
                                           8022100
 WA-NOD-I
 WA-NOD-1
                                                       Exhibit MW-3,
                                                       Exhibit MW-3, page
                                                                     page 6
                                                                          6
Case 22-11270-MLB                             Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23          Pg. 14 of 30
                                                   IDEA
                                                   IDEA LAW
                                                         LAW GROUP,
                                                               GROUP, LLC
                                                                      LLC
                                                   Successor
                                                   Successor Trustee
                                                             Trustee


                                                               _c^_             _
                                                   David
                                                   David Coats
                                                          Coats
                                                   IDEA
                                                   IDEA Law
                                                          Law Group,
                                                                 Group, LLC
                                                                        LLC
                                                   2001
                                                   2001 Western
                                                         Western Ave.,
                                                                    Ave., Suite
                                                                          Suite 400
                                                                                 400
                                                   Seattle,
                                                   Seattle, WA
                                                            WA 98121
                                                                  98121
                                                   (877)
                                                   (877) 353-2146
                                                         353-2146
                                                   dcoats@. id ..alawuroupI
                                                   dcoats@.id    alawgroupI le. com
                                                                            le.com


 Derek
 Derek Watson
       Watson and
              and Megan
                  Megan Watso�
                        Watson, 48022100
                                48022100


 This Notice ofDefault was mailed on January ) 1J
 This Notice of Default was mailed on January )^ty , 2022.




 NOTICE
 NOTICE OF
        OF DEFAULT-
           DEFAULT - 7
                     7
 Derek Watson
 Den,k Watson and Meant) Watson,
              and Mc�an  Watson, 48022100
                                 48022100
 WA-NOD-!
 WA-NOD-!

                                               Exhibit MW-3,
                                               Exhibit MW-3, page
                                                             page 7
                                                                  7
Case 22-11270-MLB                     Doc 31   Filed 09/26/22 Ent. 09/26/22 11:22:23   Pg. 15 of 30
                    EXHIBIT 3

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 16 of 30
                                               NOTICE OF
                                               NOTICE OF FORECLOSURE
                                                         FORECLOSURE

                          PURSUANT TO
                          PURSUANT TO THE REVISED CODE
                                      THE REVISED CODE OF
                                                       OF WASHINGTON
                                                          WASHINGTON

                                                   CHAPTER
                                                   CHAPTER 61.24, RCW
                                                           61.24, RCW

The
The attached
     attached Notice
               Notice ofof Trustee's
                           Trustee's Sale
                                     Sale is
                                          is a
                                             a consequence
                                                consequence ofof default(s) in the
                                                                 default(s) in  the obligation
                                                                                     obligation to
                                                                                                to Washington
                                                                                                    Washington
Federal
Federal Bank,   the Benefi
         Bank, the         ciary of
                    Beneficiary     your Deed
                                 of your Deed of  Trust. Unless
                                               ofTrust.  Unless the
                                                                the default(s)
                                                                    default(s) is/are
                                                                               is/are cured,       property will
                                                                                             your property
                                                                                      cured, your           will
be sold
be sold at
        at auction
           auction on
                    on July
                       July 22,
                            22, 2022.
                                2022.

To
To cure
    cure the
         the default(s), you must
             default(s), you       bring the
                             must bring       payments current,
                                         the payments   current, cure
                                                                  cure any
                                                                       any other
                                                                           other defaults,
                                                                                 defaults, and
                                                                                            and pay
                                                                                                pay accrued
                                                                                                     accrued late
                                                                                                             late
charges
charges and
         and other
              other costs,
                    costs, advances,
                           advances, and
                                      and attorneys' fees as
                                          attorneys' fees as set
                                                             set forth
                                                                 forth below
                                                                       below by
                                                                             by July
                                                                                 July 11,
                                                                                      11, 2022
                                                                                           2022 (11
                                                                                                 (11 days
                                                                                                     days before
                                                                                                          before
the
the sale
    sale date).
         date). To
                To date,
                   date, these
                         these arrears
                               arrears and
                                       and costs
                                           costs are
                                                 are as
                                                     as follows:
                                                        follows:



                                               Currently
                                               Currently due
                                                          due to
                                                              to reinstate
                                                                 reinstate on
                                                                           on   Estimated
                                                                                Estimated Amount
                                                                                            Amount that
                                                                                                      that will
                                                                                                             will be
                                                                                                                  be
                                               03/03/2022
                                               03/03/2022                       due
                                                                                due to
                                                                                    to reinstate
                                                                                       reinstate on
                                                                                                 on July
                                                                                                    July 11,
                                                                                                         11, 2022
                                                                                                             2022


Delinquent
Delinquent Monthly
             Monthly Payments
                      Payments                                   $143,527.37
                                                                 $143,527.37                           $161,616.29
                                                                                                       $161,616.29
(7/1/2019     8/1/2021 @
           to 8/1/2021
(7/1/2019 to           @
$4,302.76;
$4,302.76; 9/1/2021  to 4/1/2022
            9/1/2021 to 4/1/2022
@
@ $4,522.23):
   $4,522.23):
Late
Late Fees:
     Fees:                                                         $5,025.01
                                                                   $5,025.01                              $5,251.12
                                                                                                          $5,251.12
Loan
Loan Return
      Re^m Check
              Check Charges:
                     Charges:                                         $80.00
                                                                      $80.00                                 $80.00
                                                                                                             $80.00


Sub-total:
Sub-total:                                                       $148,632.41
                                                                 $148,632.41                           $166,947.41
                                                                                                       $166,947.41


Beneficiary's
Beneficiary's Agent
                Agent FeeFee (incurred):
                               (incurred):                            $540.00
                                                                      $540.00
Beneficiary's
Beneficiary's Agent
                Agent FeeFee                                                                              $1,170.00
                                                                                                          $1,170.00
(estimated):
(estimated):
Trustee's
Trustee's Expenses
            Expenses (Itemization):
                        (Itemization):
Title
Title Report
      Report (incurred):
              (incurred):                                           $1,808.35
                                                                    $1,808.35                             $1,808.35
                                                                                                          $1,808.35
Date
Date Down
      Down (estimated):
             (estimated):                                                                                    $40.00
                                                                                                             $40.00
Service/Posting
Service/Posting Notices:
                   Notices:
Notice
Notice of  Default (incurred):
        ofDefault   (incurred):                                        $65.00
                                                                       $65.00                                $65.00
                                                                                                             $65.00
Notice
Notice of  Trustee's Sale
        ofTrustee's   Sale (Estimated):
                             (Estimated):                              $95.00
                                                                       $95.00                                $95.00
                                                                                                             $95.00
Statutory
Statutory Mailing
           Mailing -- Notice
                       Notice of    Default
                                 ofDefault                             $66.64
                                                                       $66.64                                $66.64
                                                                                                             $66.64
(incurred):
(incurred):
Statutory
Statutory Mailing
           Mailing -- Notice
                       Notice of of                                   $120.00
                                                                      $120.00                              $120.00
                                                                                                           $120.00
Trustee's
Trustee’s Sale
           Sale (Estimated):
                 (Estimated):
Publication
Publication of  the Notice
             of the Notice of of Sale
                                  Sale                                                                    $1,500.00
                                                                                                          $1,500.00
(Estimated):
(Estimated):
Recording
Recording Fees:
             Fees:
Recording
Recording ofNotice
            ofNotice of of Trustee's
                           Trustee's Sale
                                        Sale                          $210.00
                                                                      $210.00                              $210.00
                                                                                                           $210.00
(Estimated):
(Estimated):
Recording
Recording of   Discontinuance of
            ofDiscontinuance        of                                                                     $210.00
                                                                                                           $210.00
Trustee's
Trustee’s Sale
           Sale (Estimated):
                 (Estimated):
         Other
         Other Charges:
                  Charges:
          Subtotal:
          Subtotal:                                               $151,537.37
                                                                  $151,537.37                          $172,232.40
                                                                                                       $172,232.40
Less
Less Suspense   Balance, if
      Suspense Balance,        any:
                            ifany:
Less
Less Escrow
     Escrow Balance,
              Balance, if    any:
                          ifany:
Less
Less Misc.  Subtraction, if
     Misc. Subtraction,       any:
                            ifany:
Total
Total Charges
       Charges -- Costs
                   Costs and
                           and Fees:
                                  Fees:                           $151,537.37
                                                                  $151,537.37                          $172,232.40
                                                                                                       $172,232.40




NOTICE OF
NOTICE OF TRUSTEE'S
          TRUSTEE'S SALE AND NOTICE
                    SALE AND NOTICE OF
                                    OF FORECLOSURE
                                       FORECLOSURE -- 3
                                                      3
Derek
Derek Watson
      Watson and
             and Megan
                 Megan Watson,
                       Watson, 48022100
                               48022100
WA-NTS-7
WA-NTS-7                                           Exhibit MW-3, page
                                                   Exhibit MW-3, page 17
                                                                      17
 Case 22-11270-MLB                        Doc 31   Filed 09/26/22 Ent. 09/26/22 11:22:23            Pg. 17 of 30
To
To pay
   pay off  the entire
        off the  entire obligation
                        obligation secured
                                   secured byby your
                                                 your Deed
                                                       Deed ofof Trust
                                                                 Trust as
                                                                        as of
                                                                           of April
                                                                              April 1,
                                                                                    1, 2022, you must
                                                                                       2022, you must pay
                                                                                                        pay aa total
                                                                                                               total of
                                                                                                                     of
$640,234.76
$640,234.76 in    principal, $72,632.15
               in principal,  $72,632.15 inin interest,  plus other
                                               interest, plus  other costs
                                                                      costs and
                                                                            and advances
                                                                                 advances estimated    to date
                                                                                            estimated to  date inin the
                                                                                                                    the
amount
amount ofof $40,738.16.
             $40,738.16. From
                           From and
                                 and after   the date
                                       after the  date of   this notice
                                                        of this          you must
                                                                 notice you   must submit
                                                                                    submit a  written request
                                                                                            a written request toto the
                                                                                                                    the
Trustee to obtain
Trustee to          the total
           obtain the   total amount  to pay
                              amount to   pay off  the entire
                                               off the  entire obligation
                                                               obligation secured   by your
                                                                           secured by   your Deed
                                                                                             Deed of  Trust as
                                                                                                   ofTrust   as of
                                                                                                                 of the
                                                                                                                    the
payoff
payoff date.
       date.

As  to the
As to  the defaults,  which do
            defaults, which do not
                                 not involve payment of
                                     involve payment      money to
                                                       of money   to the
                                                                     the Beneficiary
                                                                         Beneficiary of    your Deed
                                                                                        of your Deed of
                                                                                                      of Trust,  you
                                                                                                          Trust, you
must cure
must  cure each
             each such
                  such default.
                        default. Listed below are
                                 Listed below      the defaults,
                                               are the           which do
                                                       defaults, which  do not
                                                                           not involve    payment of
                                                                                 involve payment      money to
                                                                                                   of money    to the
                                                                                                                  the
Benefi  ciary of
Beneficiary       your Deed
               of your Deed ofof Trust.
                                  Trust. Opposite
                                         Opposite each
                                                   each such
                                                         such listed
                                                              listed default
                                                                      default is
                                                                              is aa brief
                                                                                    brief description
                                                                                          description of
                                                                                                       of the
                                                                                                          the action
                                                                                                               action
necessary
necessary toto cure
                cure the
                     the default
                         default and
                                  and aa description
                                         description of the documentation
                                                     of the documentation necessary
                                                                              necessary to to show
                                                                                              show that
                                                                                                    that the
                                                                                                         the default
                                                                                                              default
has been
has  been cured.
           cured.


                                                                     Description
                                                                     Description of
                                                                                 of Action
                                                                                    Action Required
                                                                                           Required to
                                                                                                     to Cure
                                                                                                        Cure and
                                                                                                             and
                                   Default
                                   Default                            Documentation Necessary to Show Cure
                                                                      Documentation   Necessary  to Show  Cure


          Pending
          Pending action
                   action in
                          in Shohomish
                             Shohomish County
                                         County                                        Proof
                                                                                       Proof of Payoff
                                                                                             ofPayoff
          Superior
          Superior Court
                   Court (Thomas
                          (Thomas Chung
                                    Chung and
                                            and Sandra
                                                Sandra
          Chung
          Chung and
                 and the
                     the Hughes
                          Hughes Survivor's
                                   Survivor’s Trust v.
                                              Trust v.
          Derek
          Derek Watson
                 Watson and
                         and Megan
                              Megan Watson
                                      Watson and
                                              and Terje
                                                  Terje
          Leiren
          Leiren and
                 and Ingunn
                     Ingunn Leiren,
                              Leiren, cause
                                      cause number
                                            number 16-
                                                     16
          2-02410-4)
          2-02410-4)


          Lien  held by
          Lien held  by Warm
                        W^m Beach
                               Beach Water
                                     Water
                                                                                       Proff
                                                                                       Proff of Payoff
                                                                                             ofPayoff
          Association,
          Association, recorded
                        recorded December
                                 December 3,
                                           3, 2019,
                                              2019,
          instrument
          instrument number
                      number 201812030186
                              201812030186


Evidence/Proof must be
Evidence/Proofmust  be provided
                       provided that
                                that the
                                     the delinquency has been
                                         delinquency has been brought
                                                              brought current.
                                                                      current.

You   may pay
You may     pay off  your Deed
                 off your  Deed ofof Trust
                                      Trust and  the obligation
                                            and the  obligation secured      thereby at
                                                                   secured thereby    at any
                                                                                         any time  prior to
                                                                                              time prior  to the
                                                                                                             the sale
                                                                                                                  sale date
                                                                                                                       date
of
of July
    July 22,
         22, 2022,
               2022, or   before sale,
                       or before         by paying
                                   sale, by  paying the
                                                      the amount
                                                            amount as  as set
                                                                           set forth
                                                                               forth or
                                                                                     or estimated
                                                                                         estimated above.
                                                                                                     above. InIn addition,
                                                                                                                  addition,
because some
because  some of    the charges
                 of the  charges can
                                   can only  be estimated
                                       only be  estimated at at this time, and
                                                                this time,   and because
                                                                                 because the
                                                                                           the amount   necessary to
                                                                                                amount necessary    to pay
                                                                                                                        pay
off your loan
off your        may include
          loan may              presently unknown
                      include presently   unknown expenditures
                                                     expenditures required       to preserve
                                                                       required to  preserve the  property or
                                                                                              the property      to comply
                                                                                                             or to comply
with State
with  State or
             or local
                 local law,
                        law, it  will be
                             it will  be necessary
                                         necessary for     you to
                                                     for you     to contact   the Trustee
                                                                    contact the    Trustee before
                                                                                            before the
                                                                                                    the time   you tender
                                                                                                        time you     tender
payoff
payoff so
        so that  you may
            that you  may bebe advised
                                advised of  the exact
                                         ofthe  exact amount
                                                       amount you you will   be required
                                                                        will be           to pay.
                                                                                required to  pay. Tender
                                                                                                  Tender of    payment in
                                                                                                           of payment    in
the
the form
     form of of cash
                 cash oror cashier's
                           cashier's check
                                       check oror certifi ed funds
                                                   certified   funds from
                                                                        from Federally
                                                                               Federally oror State
                                                                                               State charted
                                                                                                      charted banks,
                                                                                                                banks, oror
performance,
performance, must
                must bebe made
                          made to:
                                 to:

                                                      IDEA
                                                      IDEA LawLaw Group,
                                                                  Group, LLC
                                                                          LLC
                                                      2001
                                                      2001 Western
                                                            Western Ave.,
                                                                    Ave., Suite 400
                                                                          Suite 400
                                                      Seattle,
                                                      Seattle, WA 98121
                                                               WA 98121
                                                      Telephone: (877)
                                                      Telephone: (877) 353-2146
                                                                       353-2146



You
You maymay contest   this default
             contest this           by initiating
                            default by  initiating court
                                                    court action
                                                           action in  the Superior
                                                                   in the Superior Court
                                                                                     Court of  the county
                                                                                            of the  county in    which the
                                                                                                             in which    the
sale
sale is  to be
      is to be held.
               held. In
                      In such
                         such action,    you may
                                action, you   may raise
                                                    raise any
                                                          any legitimate
                                                                legitimate defenses   you have
                                                                            defenses you   have to
                                                                                                 to this
                                                                                                    this default.
                                                                                                          default. A
                                                                                                                   A copy
                                                                                                                       copy
of  your Deed
of your    Deed of
                 of Trust
                    Trust andand documents
                                  documents evidencing
                                               evidencing thethe obligation
                                                                  obligation secured
                                                                              secured thereby
                                                                                       thereby are
                                                                                                are enclosed.
                                                                                                     enclosed. You     may
                                                                                                                 You may
wish to
wish    to consult
           consult a
                   a lawyer.
                       lawyer. Legal
                                 Legal action
                                         action on   your pant
                                                 on your    patt may
                                                                  may prevent
                                                                       prevent or
                                                                                or restrain
                                                                                    restrain this
                                                                                             this sale,
                                                                                                   sale, but
                                                                                                          but only
                                                                                                               only if  you
                                                                                                                     if you
persuade
persuade thethe court
                 court of     the merits
                         of the    merits of    your defense.
                                            of your    defense. You
                                                                  You maymay contact
                                                                               contact the
                                                                                         the Department
                                                                                             Department of   of Financial
                                                                                                                 Financial
Institutions
Institutions (1-877-894-4663)
              (1-877-894-4663) or   or the
                                       the statewide
                                            statewide civil
                                                        civil legal
                                                              legal aid hotline for
                                                                    aid hotline     possible assistance
                                                                                for possible  assistance oror referrals.
                                                                                                              referrals.
If you do
If you   do not
            not pay
                 pay off
                      off the
                           the secured
                                secured obligation
                                         obligation and    your Deed
                                                      and your    Deed of
                                                                        of Trust
                                                                            Trust in the manner
                                                                                  in the  manner set
                                                                                                   set forth
                                                                                                        forth above,
                                                                                                              above, oror if
                                                                                                                           if
you do
you    do not
           not succeed
               succeed in in restraining
                              restraining the
                                            the sale  by court
                                                 sale by   court action,   your property
                                                                  action, your   property will
                                                                                            will be
                                                                                                 be sold    to satisfy
                                                                                                      sold to            the
                                                                                                                satisfy the



NOTICE
NOTICE OF
       OF TRUSTEE'S
          TRUSTEE'S SALE
                    SALE AND
                         AND NOTICE
                             NOTICE OF
                                    OF FORECLOSURE
                                       FORECLOSURE -- 4
                                                      4
Derek
Derek Watson and Megan
      Watson and Megan Watson,
                       Watson, 48022100
                               48022100
WA-NTS-7
wA-NTs-7                                           Exhibit MW-3, page
                                                   Exhibit MW-3, page 18
                                                                      18

  Case 22-11270-MLB                       Doc 31   Filed 09/26/22 Ent. 09/26/22 11:22:23                   Pg. 18 of 30
 obligations
 obligations secured
             secured by  your Deed
                     by your  Deed of  Trust. The
                                    of Trust.  The effect
                                                     effect of
                                                            of such
                                                               such sale
                                                                     sale will
                                                                          will be to deprive
                                                                               be to         you and
                                                                                     deprive you and all
                                                                                                     all those
                                                                                                         those
 who
 who hold
      hold by,
           by, through
               through or under you
                       or under you of
                                    of all
                                       all interest
                                           interest in
                                                    in the
                                                       the property.
                                                           property.

 The court
 The court may
           may grant
               grant a
                     a restraining
                       restraining order
                                   order or
                                         or injunction
                                            injunction to restrain aa Trustee's
                                                       to restrain    Trustee's Sale
                                                                                Sale pmsuant
                                                                                     pursuant to
                                                                                              to RCW
                                                                                                 RCW
 61.24.130   upon :five
 61.24.130 upon    five (5)
                         (5) days'
                             days' notice
                                   notice to
                                           to the Trustee of
                                              the Trustee  of the  time, when,
                                                               the time,   when, place,
                                                                                  place, where
                                                                                         where and
                                                                                                and the
                                                                                                    the judge
                                                                                                         judge before
                                                                                                               before
 whom
 whom thethe application
             application for
                          for the
                              the restraining
                                  restraining order
                                               order or injunction is
                                                     or injunction      to be
                                                                     is to be made.  This notice
                                                                              made. This  notice shall
                                                                                                 shall include
                                                                                                       include copies
                                                                                                               copies
 of
 of all
    all pleadings
        pleadings and
                   and related
                        related docwnents
                                 documents to to be
                                                 be given
                                                    given to  the judge.
                                                           to the judge. Notice
                                                                            Notice and
                                                                                   and other
                                                                                        other process  may be
                                                                                              process may   be served
                                                                                                               served
 on
 on the  Trustee at:
    the Trustee  at:


                                                    IDEA
                                                    IDEA Law
                                                         Law Group,
                                                             Group, LLC
                                                                    LLC
                                                   2001
                                                   2001 Western
                                                        Western Ave.,
                                                                Ave., Suite 400
                                                                      Suite 400
                                                        Seattle,
                                                        Seattle, WA
                                                                 WA 98121
                                                                     98121
                                                         (877)   353-2146
                                                         (877)353-2146



1f you do
If you do not
          not payoff
              payoff the
                     the secured
                         secured obligation
                                 obligation and yow- Deed
                                            and your Deed of Trust in
                                                          of Trust in the
                                                                      the manner
                                                                          manner set
                                                                                 set forth
                                                                                     forth above,
                                                                                           above, or
                                                                                                  or if
                                                                                                     if
you do
you do not
       not succeed
           succeed in
                   in restraining
                      restraining the
                                  die sale
                                      sale by
                                           by court
                                              court action, your property
                                                    action, your property will
                                                                          will be
                                                                               be sold. The effect
                                                                                  sold. The effect of
                                                                                                   of such
                                                                                                      such
sale
sale will
     will be
          be to
             to deprive you and
                deprive you and all
                                all those
                                    those who
                                          who hold
                                              hold by,
                                                   by, through
                                                       through or
                                                               or under you of
                                                                  under you of all
                                                                               all interest
                                                                                   interest in the property.
                                                                                            in the property.

NOTICE TO
NOTICE TO ALL
          ALL PERSONS
              PERSONS AND
                      AND PARTIES
                          PARTIES WHO
                                  WHO ARE
                                      ARE GUARANTORS OF THE
                                          GUARANTORS OF THE OBLIGATIONS
                                                            OBLIGATIONS
SECURED
SECURED BY            TIDS DEED
                BY THIS      DEED OF  OF TRUST:
                                            TRUST: (I)       The Guarantor
                                                         (1) The   Guarantor maymay bebe liable
                                                                                          liable for
                                                                                                  for aa deficiency
                                                                                                          deficiency judgment
                                                                                                                       judgment to    to
the extent
the   extent the
              the sale
                   sale price
                        price obtained
                               obtained at  at the
                                                the Trustee's
                                                     Trustee's Sale
                                                                 Sale is
                                                                       is less
                                                                          less than
                                                                               than the
                                                                                     the debt
                                                                                          debt secured
                                                                                                 secured by by the
                                                                                                                the Deed
                                                                                                                     Deed ofof Trust;
                                                                                                                                Trust;
(2)  The Guarantor
(2) The    Guarantor hashas the
                             the same
                                  same rights
                                         rights to     reinstate the
                                                   to reinstate   the debt,
                                                                       debt, cuxe  the default,
                                                                             cure the   default, or
                                                                                                  or repay
                                                                                                      repay the
                                                                                                              the debt
                                                                                                                    debt as
                                                                                                                          as is
                                                                                                                             is given
                                                                                                                                 given
to
to the
    the grantor
          grantor inin order
                       order to
                              to avoid
                                  avoid thethe trustee's
                                                 trustee's sale;
                                                             sale; (3)  The Guarantor
                                                                    (3) The   Guarantor willwill have
                                                                                                  have nono right
                                                                                                              right to
                                                                                                                     to redeem
                                                                                                                         redeem the  the
property
property after
             after the  Trustee's Sal
                   the Trustee's        e; (4)
                                    Sale;   (4) Subject
                                                  Subject toto such
                                                                such longer
                                                                       longer periods
                                                                                periods asas are
                                                                                              are provided
                                                                                                  provided in      the Washington
                                                                                                                in the  Washington
Deed
Deed of     Trust Act,
         of Trust   Act, Chapter
                          Chapter 61.24      RCW, any
                                     61.24 RCW,         any action    brought to
                                                             action brought     to enforce
                                                                                   enforce a    guaranty must
                                                                                              a guaranty     must bebe commenced
                                                                                                                        commenced
within
within one     year after
          one year   after the
                           the Trustee's
                                Trustee's Sale,
                                            Sale, or or the
                                                        the last
                                                            last Trustee's
                                                                 Trustee's Sale
                                                                             Sale under
                                                                                   under any
                                                                                           any deed
                                                                                                deed ofof trust   granted to
                                                                                                           trust granted    to secm·
                                                                                                                                secure e
the
the same
      same debt;
             debt; and   (5) In
                    aid (5)  In any
                                any action
                                      action forfor aa deficiency,
                                                       deficiency, the
                                                                     the Guarantor    will have
                                                                          Guarantor will     have the   right to
                                                                                                   the right   to establish
                                                                                                                   establish the
                                                                                                                              the fair
                                                                                                                                    fair
value
value of    the property
         of the  property asas of
                               of the
                                   the date
                                        date ofof the    Trustee's Sale,
                                                    the Trustee's    Sale, less  prior liens
                                                                           less prior  liens and
                                                                                               and encumbrances,
                                                                                                    encumbrances, an    andd to
                                                                                                                              to limit
                                                                                                                                  limit
its
its liability
    liability for
               for a
                   a defi ciency to
                      deficiency   to the
                                      the difference
                                           difference between
                                                          between thethe debt
                                                                          debt and
                                                                               and the
                                                                                    the greater
                                                                                         greater ofof such
                                                                                                      such fair
                                                                                                             fair value
                                                                                                                   value or
                                                                                                                          or the
                                                                                                                             the sale
                                                                                                                                    sale
price
price paid
        paid at
              at the
                 the Trustee's
                      Trustee's Sale,
                                 Sale, plus
                                        plus interest
                                               interest and
                                                          and costs.
                                                               costs.

For Sales
For Sales questions
          questions and
                    and concerns:
                        concerns:

           Email
           Email Address:
                 Address: dcoats@idealawgr0L1p1lc.com
                          dcoats@idealawRroup1lc.com

DATED: March 2_,
             2_, 2022
                                                     IDEA
                                                     IDEA Law
                                                          Law Group,
                                                              Group, LLC,
                                                                     LLC, Successor Trustee
                                                                          Successor Trustee



                                                         _'1'
                                                     By: __     __
                                                                   •A r'�
                                                            '.J_..,_,;' '" __\........:-c
                                                                              __       __c_______

                                                     David
                                                     David Coats,
                                                            Coals, WSBA
                                                                   WSBA #47375
                                                                        #47375
                                                     2001
                                                     2001 Western
                                                           Western Avenue
                                                                   Avenue Suite 400
                                                                          Suite 400
                                                     Seattle,
                                                     Seattle, WA
                                                              WA 98121
                                                                  98121
                                                     877-353-2146
                                                     877-353-2146
                                                     dcoats@idealawgrnupllc.com
                                                     dcoats@idealawgroupllc.com




NOTlCE OF
NOTICE OF TRUSTEE'S
          TRUSTEE'S SALE
                    SALE AND NOTICE OF
                         AND NOTICE OF FORECLOSURE
                                       FORECLOSURE -- 5
                                                      5
Derek
Derek Watson
      Watson and
             and Megan
                 Megan Watson,
                       Watson, 48022100
                                                     Exhibit MW-3, page
                                                                   page 19
                               48022100
WA-NTS-7
WA-NTS-7                                             Exhibit MW-3,      19
  Case 22-11270-MLB                       Doc 31     Filed 09/26/22 Ent. 09/26/22 11:22:23                           Pg. 19 of 30
                    EXHIBIT 4

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 20 of 30
                                                                                      ®l II IHM
AFTER RECORDING RETURN TO:
                                                                  SwSS                5 reLE ReC: $207S0
                                                                     3HOMISH COUNTY, WA
IDEA Law Group, LLC
2001 Western Ave., Suite 400
Seattle, WA 98121




Reference: Derek Watson and Megan Watson, 48022100

Reference No(s) of Documents / Deed of Trust Assigned or Released: 201510210463
Document Title: NOTICE OF TRUSTEE'S SALE
Grantor: Derek Watson and Megan Watson
Current Beneficiary of the Deed of Trust: Washington Federal Bank
Current Trustee of the Deed of Trust: IDEA Law Group, LLC
Current Loan Mortgage Servicer of the Deed of Trust: Washington Federal Bank
Grantee: Washington Federal Bank
Abbreviated Legal Description as Follows: LOT 40, BLOCK 50, C.D. HILLMAN’S BIRMINGHAM
WATER FRONT ADD. TO THE CITY OF EVERETT, DIV. NO. 1, VOL. 8, P. 21-23, SNOHOMISH
COUNTY

Assessor's Property Tax Parcel/Account No(s): 00394405004001

WE ARE A DEBT COLLECTOR. THIS COMMUNICATION IS AN ATTEMPT TO COLLECT
A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

                                          NOTICE OF TRUSTEE'S SALE

                                                        I


NOTICE IS HEREBY GIVEN that on July 22, 2022 at 10:00 A.M., located outside the north plaza
entrance to the Snohomish County Courthouse, 3000 Rockefeller Ave, Everett, WA, Snohomish County,
State of Washington, the undersigned will sell at public auction to the highest bidder, payable at the time
of sale, the following described real property, situated in Snohomish County, State of Washington, to-wit;


LOT 40, BLOCK 50, C.D. HILLMAN'S BIRMINGHAM WATER FRONT ADDITION TO THE CITY
OF EVERETT, DIVISION NO. 1, ACCORDING TO THE PLAT THEREOF RECORDED IN
VOLUME 8 OF PLATS, PAGES                      21, 22, AND 23,   RECORDS OF SNOHOMISH COUNTY,
WASHINGTON;

TOGETHER WITH SECOND CLASS TIDELANDS IN FRONT OF AND ABUTTING UPON AND
ADJACENT THERETO.


SITUATE IN THE COUNTY OF SNOHOMISH, STATE OF WASHINGTON.

commonly known as 17520 Marine Dr., Stanwood, WA 98292, which is subject to that certain Deed of
Trust dated October 9, 2015, recorded October 21, 2015, under Recorder's/Auditor's File Number
201510210463 records of Snohomish County, Washington, from Derek Watson and Megan Watson, as
Grantors, to Washington Services, Inc., as Trustee, to secure an obligation in favor of Washington


NOTICE OF TRUSTEE'S SALE - 1
Derek Watson and Megan Watson, 48022100
WA-NTS-6



Case 22-11270-MLB                    Doc 31   Filed 09/26/22    Ent. 09/26/22 11:22:23     Pg. 21 of 30
Federal, N.A. as Beneficiary. The sale will be made without any warranty concerning the title to, or the
condition of file property.

                                                        II


No action commenced by the Beneficiary of the Deed of Trust is now pending to seek satisfaction of the
obligation in any Court by reason of the Grantor's default on the obligation secured by the Deed of Trust.

                                                        III


The defaults) for which this foreclosure is made is/are as follows:

          i)         Failure to pay the following amounts, now in arrears:

          Delinquent Monthly Payments from                                                     $111,871.76
          07/01/2019 to 08/01/2021 @ $4,302.76:
          Delinquent Monthly Payments from                                                      $36,177.84
          09/01/2021 to 04/01/2022 @ $4,522.23:
          Late Fees:                                                                              $5,025.01
          Loan Return Check Charges:                                                                 $80.00
          Paid Attoney Fees and Costs:                                                            $2,498.99
                      Subtotal:                                                                $155,653.60
          Less Suspense Balance:
          Escrow Balance:
           TOTAL DEFAULT:                                                                      $155,653.60



                                                        IV


The sum owing on the obligation secured by the Deed of Trust is $640,234.76, together with interest from
July 1, 2019 as provided in the note or other instrument, and such other costs and fees as are due under
the note or other instrument secured, and as are provided by statute.

                                                         V


The above-described real property will be sold to satisfy die expense of sale and the obligation secured by
the Deed of Trust as provided by statute. The sale will be made without warranty, express or implied,
regarding title, possession, or encumbrances on July 22, 2022. The defaults) referred to in paragraph III
must be cured by July 1 1, 2022 (1 1 days before the sale date) to cause a discontinuance of the sale. The
sale will be discontinued and terminated if at any time on or before July 1 1, 2022 (1 1 days before the sale
date), the defaults) as set forth in paragraph HI is/are cured and the Trustee’s fees and costs are paid. The
sale may be terminated any time after July 11, 2022 (1 1 days before the sale date), and before the sale by
the Borrower, Grantor, any Guarantor, or the holder of any recorded junior lien or encumbrance paying
the entire principal and interest secured by the Deed of Trust, plus costs, fees, and advances, if any, made
pursuant to the terms of the obligation and/or Deed of trust, and curing all other defaults. Payment must
be in cash or with cashier's or certified checks from a State or federally chartered bank.


                                                         VI


A written notice of default was transmitted by the beneficiary or Trustee to the Borrower and Grantor at
the following address(es):



 NOTICE OF TRUSTEE'S SALE - 2
 Derek Watson and Megan Watson, 48022100
 WA-NTS-6




Case 22-11270-MLB                     Doc 31   Filed 09/26/22    Ent. 09/26/22 11:22:23      Pg. 22 of 30
          See 'Mailing List' attached hereto and incorporated herein by this reference.

by both first-class and certified mail on January 13, 2022, proof of which is in the possession of the
Trustee; and the Borrower and Grantor were personally served on January 15 2022, with said written
notice of default or the written notice of default was posted in a conspicuous place on the real property
described in paragraph I above, and the Trustee has possession of proof of such service or posting.

                                                         VII


The Trustee whose name and address are set forth will provide in writing to anyone requesting it, a
statement of all costs and fees due at any time prior to the sale.

                                                         VIII


The effect of the sale will be to deprive the Grantor and all those who hold by, through or under the
Grantor of all their interest in the above-described property.

                                                          IX


Anyone having objections to this sale on any grounds whatsoever will be afforded an opportunity to be
heard as to those objection if they bring a lawsuit to restrain the sale pursuant to RCW 61.24. 130. Failure
to bring such a lawsuit may result in a waiver of any proper grounds for invalidating the Trustee's sale.

                                                          X


                                           NOTICE TO OCCUPANTS OR TENANTS


The purchaser at the Trustee's Sale is entitled to possession of the property on the 20th day following the
sale, as against the Grantor under the deed of trust (the owner) and anyone having an interest junior to the
deed of trust, including occupants who are not tenants. After the 20th day following the sale, the purchaser
has the right to evict occupants who are not tenants by summary proceedings under Chapter 59. 12 RCW.
For tenant-occupied property, the purchaser shall provide a tenant with written notice in accordance with
RCW 61.24.060.


If the Trustee's Sale is set aside for any reason, the submitted bid will be forthwith returned without
interest and the bidder will have no right to purchase the property. Recovery of the bid amount without
interest constitutes the limit of the bidder's recourse against the Trustee and/or the Beneficiary.

                                                          XI


NOTICE TO ALL PERSONS AND PARTIES WHO ARE GUARANTORS OF THE OBLIGATIONS
SECURED BY THIS DEED OF TRUST: (1) The Guarantor may be liable for a deficiency judgment to
the extent the sale price obtained at the Trustee's Sale is less than the debt secured by the Deed of Trust;
(2) The Guarantor has the same rights to reinstate the debt, cure the default, or repay the debt as is given
to the grantor in order to avoid the trustee's sale; (3) The Guarantor will have no right to redeem the
property after the Trustee's Sale; (4) Subject to such longer periods as are provided in the Washington
Deed of Trust Act, Chapter 61.24 RCW, any action brought to enforce a guaranty must be commenced
within one year after the Trustee's Sale, or the last Trustee's Sale under any deed of trust granted to secure
the same debt; and (5) In any action for a deficiency, the Guarantor will have the right to establish the fair
value of the property as of the date of the Trustee's Sale, less prior liens and encumbrances, and to limit
 its liability for a deficiency to the difference between the debt and the greater of such fair value or the sale
 price paid at the Trustee's Sale, plus interest and costs.



 NOTICE OF TRUSTEE’S SALE - 3
 Derek Watson and Megan Watson, 48022100
 WA-NTS-6



Case 22-11270-MLB                    Doc 31      Filed 09/26/22   Ent. 09/26/22 11:22:23         Pg. 23 of 30
                                                        XII


                                                     NOTICE


THIS NOTICE IS THE FINAL STEP BEFORE THE FORECLOSURE SALE OF YOUR HOME.

You have only 20 DAYS from the recording date on this notice to pursue mediation.

DO NOT DELAY. CONTACT A HOUSING COUNSELOR OR AN ATTORNEY LICENSED IN
WASHINGTON NOW to assess your situation and refer you to mediation if you are eligible and it may
help you save your home. See below for safe sources of help.

                                              SEEKING ASSISTANCE


Housing counselors and legal assistance may be available at little or no cost to you. If you would like
assistance in determining your rights and opportunities to keep your house, you may contact the
following:


The statewide foreclosure hotline for assistance and referral to housing counselors recommended by the
Housing Finance Commission:

         Telephone: (1-877-894-4663)
          Website: http://www.wshfc.org/buyers/counseling.htm

The United States Department of Housing and Urban Development:

           Telephone: (1-800-569-4287)
           Website:
           http://www.hud.gov/offices/hsg/sfh/hcc/fc/index.cfin?webListAction=search&searchstate=WA&f
           ilterSvc=dfc


The statewide civil legal aid hotline for assistance and referrals to other housing counselors and attorneys:

           Telephone: (1-800-606-4819)
           Website: http://nwjustice.org/what-clear

For Sales questions and concerns:

           Email Address: dcoats@idealawgroupllc.com

DATED: March 3 , 2022
                                               IDEA Law Group, LLC
                                               Successor Trustee
                                                                                                 SEE ATTACHED
                                                                                              NOTARIZED DOCUMENT

                                               By:                 c
                                               David Coats, WSBA #47375
                                               2001 Western Avenue Suite 400
                                               Seattle, WA 98121
                                               877-353-2146
                                               dcoats@idealawgroupllc.com




NOTICE OF TRUSTEE'S SALE - 4
Derek Watson and Megan Watson, 48022100
WA-NTS-6




Case 22-11270-MLB                    Doc 31   Filed 09/26/22       Ent. 09/26/22 11:22:23     Pg. 24 of 30
                                    ACKNOWLEDGMENT



  A notary public or other officer completing this
  certificate verifies only the identity of the individual
  who signed the document to which this certificate is
  attached, and not the truthfulness, accuracy, or
  validity of that document.

State of California
County of             San Bernardino                 .)


      March           , 2022            before me,
                                                          Aubreena Heusel, Notary Public
On
                                                             (insert name and title of the officer)


personally appeared       \)clV\A                                                                                          ,
who proved to me on the basis of satisfactory evidence to be the person^ whose name^) is/arb
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/heffth^fr authorized capacity(ies^ and that by his/hef7their signature(s^on the instrument the
person^), or the entity upon behalf of which the person(ejTacted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.


                                                                                          AUBREENAHEUSEL
WITNESS my hand and official seal.                                                          COMM. *2366649            ?
                                                                                         Notary Public - California   £
                                                                                          San Bernardino County  !
                                                                                       My Comm Exp July 20, 2025 2
                                                                                                 —     r-- r-rrraiiiaB»n




Signature                                                    (Seal)




Case 22-11270-MLB              Doc 31   Filed 09/26/22         Ent. 09/26/22 11:22:23           Pg. 25 of 30
                    EXHIBIT 5

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 26 of 30
Derek Watson and Megan Watson I OI 48022100




                    NOTICE OF CONTINUANCE OF TRUSTEE'S SALE

Pursuant to RCW 61.24.040(10), you are hereby notified that the undersigned Trustee hereby
continues the below trustee's sale, to August 5,2022 at 9:00 a.m., and will on said date and time
sell at public auction to the highest and best bidder, payable at the time of the sale, the following
described real property, situated in Snohomish County, State of Washington.

        LOT 40, BLOCK 50, C.D. HILLMAN'S BIRMINGHAM WATER FRONT
        ADDITION TO THE CITY OF EVERETT, DIVISION NO. 1, ACCORDING TO THE
        PLAT THEREOF RECORDED IN VOLUME 8 OF PLATS, PAGES 21,22, AND 23,
        RECORDS OF SNONOHOMISH COUNTY, WASHINGTON;

        TOGETHER WITH SECOND CLASS TIDELANDS                                      IN   FRONT OF AND
        ABUTTING UPON AND ADJACENT THERETO.

        SITUATED IN THE COUNTY OF SNOHOMISH, STATE OF WASHINGTON.

COMMONLY KNOWN AS 17520 Marine Drive, Stanwood, WA98292,

which is subject to that certain Deed of Trust recorded under Auditor's Number 201510210463,
in the Official Records of Snohomish County.

Said Trustee's Sale was originally scheduled for July 22, 2022 pwsuant to the Notice of
Trustee's Sale recorded in the Official Records Snohomish County, Washington, under
Recorder' s/Auditor' s No. 20220 3 17 0240.

DATED thi ,   / 7     day of Jul y,2022. **.*^*ddrr
                                 t   '//-'**-
                                                        ri+d   ild




                                                       IDEA LAW GROTJP LLC

                                                      ffi
                                                       Miclaef{. Padilla, WSBA No.26284
                                                            bcessor Trustee

                                                       2001 Western Avenue Suite 400
                                                       Seattle, Washington 98121

                                                       Telephone: (877) 353 -2146
                                                       Email : rvannarath@idealawgroupllc.com




THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL
BE USED FOR THAT PURPOSE.

Case 22-11270-MLB          Doc 31               Filed 09/26/22       Ent. 09/26/22 11:22:23   Pg. 27 of 30
                    EXHIBIT 6

Case 22-11270-MLB   Doc 31   Filed 09/26/22   Ent. 09/26/22 11:22:23   Pg. 28 of 30
From:                                  Information <information@seattlech13.com>
Sent:                                  Tuesday, September 20, 2022 12:15 PM
To:                                    Justin L. Jaena
Cc:                                    Ed Werner
Subject:                               RE: In re Derek Allen Watson and Megan Melissa Watson, Case No. 22-11270 (Chapter
                                       13 Bankruptcy),


Good morning:

No pre-confirmation payments have been made on this case.

Sincerely,

Noreen Smith

From: Justin L. Jaena <jjaena@lagerlof.com>
Sent: Tuesday, September 20, 2022 11:20 AM
To: Information <information@seattlech13.com>
Subject: In re Derek Allen Watson and Megan Melissa Watson, Case No. 22-11270 (Chapter 13 Bankruptcy),

   You don't often get email from jjaena@lagerlof.com. Learn why this is important

Office of Jason Wilson Aguilar,

My office is counsel for Creditor Washington Federal in the above-referenced bankruptcy. I am reaching out to inquire if
the Debtors have made any pre-confirmation plan payments as of this date. Please let me know.

Best,


Justin Jaena
Associate Attorney


jjaena@lagerlof.com
206-492-2300
206-264-5913 (Direct)




                                                  701 Pike Street
                                                  Suite 1560
                                                  Seattle, WA 98101
                                                  www.lagerlof.com


CONFIDENTIALITY NOTICE:
This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended
recipient, please note that any dissemination, distribution, or copying of this communication is strictly prohibited. If you have received
this message in error, please immediately notify the sender by return email and delete this email message from your computer. Thank
you.
                                                                    1


           Case 22-11270-MLB             Doc 31       Filed 09/26/22         Ent. 09/26/22 11:22:23            Pg. 29 of 30
This transmission may contain information that is privileged, confidential and/or exempt from disclosure under
applicable law. If you are not the intended recipient, any disclosure, copying, distribution or use of the information
contained (including any reliance) is prohibited. If you have received this transmission in error, please immediately
contact the sender and destroy the material in its entirety, whether in electronic or hard copy format. Thank you.
This transmission may contain information that is privileged, confidential and/or exempt from disclosure under
applicable law. If you are not the intended recipient, any disclosure, copying, distribution or use of the information
contained (including any reliance) is prohibited. If you have received this transmission in error, please immediately
contact the sender and destroy the material in its entirety, whether in electronic or hard copy format. Thank you.




                                                             2


        Case 22-11270-MLB            Doc 31      Filed 09/26/22      Ent. 09/26/22 11:22:23         Pg. 30 of 30
